            Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 1 of 32




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION



  Natera, Inc.,                                               Civil Action No. 6:20-cv-532

                       Plaintiff,                            JURY TRIAL DEMANDED

             v.

  Progenity, Inc.,

                     Defendant.


                         COMPLAINT FOR PATENT INFRINGEMENT
       Plaintiff Natera, Inc. (“Natera”), for its Complaint against Defendant Progenity, Inc.

(“Progenity” or “Defendant”), alleges as follows:

                                    NATURE OF THE ACTION
       1.         This is a civil action for infringement of United States Patent Nos. 9,228,234 (the

“’234 Patent”); 9,424,392 (the “’392 Patent”); 10,227,652 (the “’652 Patent”); 10,240,202 (the

“’202 Patent”); 10,266,893 (the “’893 Patent”); and 10,522,242 (the “’242 Patent”) (collectively

the “Patents-in-Suit”), arising under the Patent Laws of the United States, 35 U.S.C. §§ 271, et

seq.

                                           THE PARTIES
       2.         Natera is a company organized and existing under the laws of Delaware, with its

principle place of business at 201 Industrial Rd, San Carlos, California 94070.

       3.         Founded in 2004, Natera (formerly Gene Security Network) is a pioneering

molecular technology company dedicated to improving disease management for reproductive

health, oncology, and organ transplantation. For over fifteen years, Natera has been researching


                                                   1
            Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 2 of 32




and developing non-invasive methods for analyzing DNA to help patients and doctors manage

diseases.

       4.       Natera is a leading developer of highly accurate solutions for non-invasive prenatal

testing (“NIPT”), genetic-carrier screening, and miscarriage testing. Natera’s PanoramaTM

Prenatal Screen test is a market-leading NIPT test that analyzes a fetus’s risk for genetic disorders

as early as nine weeks through a simple blood draw from the mother’s arm. Panorama is a cell-

free DNA (“cfDNA”)-based test. Natera is considered the industry leading test in this space, with

over two million tests performed commercially, and with more than twenty-six peer-reviewed

publications.

       5.       On information and belief, Progenity is a company organized and existing under

the laws of Delaware, with its principle place of business located at 4330 La Jolla Village Drive,

Suite 200, San Diego, California, 92122. Progenity is registered to do business in the state of

Texas. Progenity has appointed Cogency Global Inc., 1601 Elm St., Suite 4360, Dallas, Texas,

75201 as its agent for service of process.

                                 JURISDICTION AND VENUE

       6.       This action arises under the patent laws of the United States, including 35 U.S.C.

§§ 271, et. seq. This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C.

§§ 1331 and 1338(a).

       7.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b), (c), (d) and/or 28

U.S.C. § 1400(b) because Defendant has a permanent and continuous presence in, have committed

acts of infringement in, and maintain regular and established places of business in this District.

       8.       By registering to conduct business in Texas, by having facilities where they

regularly conduct business in this judicial District, and by having a registered agent in this judicial


                                                  2
            Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 3 of 32




District, Defendant has a permanent and continuous presence and regular and established places

of business in the Western District of Texas.

       9.       Defendant is registered to do business in Texas. (Ex. 1 (registered in TX as

“Ascendant MDx, Inc.”); Ex. 2 (registration amendment in TX changing the legal name from

“Ascendant MDx, Inc.” to “Progenity, Inc.”)). The purpose of the registration in Texas was so

that Defendant could pursue an “Independent clinical laboratory” in Texas. (Ex. 1).

       10.      Defendant enlisted “National Corporation Research, Ltd.” to act as its registered

agent in this judicial District. From 2013-2019, Defendant’s Texas Franchise Tax Reports identify

800 Brazos, Suite 400, Austin, TX, 78701 as Defendant’s registered agent’s address. (Exs. 3-9).

       11.      Defendant is affiliated with Patient Service Centers in this judicial District,

including at least 15 affiliated centers in Austin, TX; at least 6 affiliated centers in San Antonio,

TX; at least 10 affiliated centers in El Paso, TX; and at least 2 affiliated centers in Midland and

Odessa, TX. (Exs. 10-13). For example, Defendant is affiliated with at least the following centers

in Austin, TX: Clinical Pathology Laboratories – Bailey Square; Clinical Pathology Laboratories

– Medical Arts Square; Open Draw; Clinical Pathology Laboratories – Medical Park Tower;

ExamOne Austin; Clinical Pathology Laboratories – Wells Branch; Any Lab Test Now – Austin

(two locations); Clinical Pathology Laboratories – Southwest Medical Village; Clinical Pathology

Laboratories – James Casey; Clinical Pathology Laboratories – Four Points PSC; Clinical

Pathology Laboratories – Medical Oaks Pavilion; Clinical Pathology Laboratories – Renfer Way

PSC; Clinical Pathology Laboratories – Ladera Park; and Clinical Pathology Laboratories – Brodie

Lane. (Ex. 10). Defendant also is affiliated with at least the following centers in San Antonio,

TX: CPL – San Antonio – Somerset; Any Lab Test Now (three locations); CPL – San Antonio –

Pecan Plaza; and Stat-X Medical Services, Inc. (Ex. 11). Defendant is affiliated with at least the



                                                 3
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 4 of 32




following centers in El Paso, TX: CPL – El Paso-Mesa; University Medical Center (UMC) – El

Paso; University Medical Center (UMC) – Ysleta; University Medical Center (UMC) – West; CPL

– El Paso-Remcon; University Medical Center (UMC) – Northeast; Insurance Medicals of El Paso;

CPL – El Paso-Vista Del Sol; University Medical Center (UMC) – Dieter; and University Medical

Center (UMC) – East. Defendant is affiliated with at least the two following centers in Odessa

and Midland, TX, respectively: CPL – Odessa and CPL – Midland. (Ex. 12). Defendant’s

affiliated centers collect specimens from patients for testing. (Ex. 13). Upon information and

belief, the collected specimens are tested by using the infringing products and/or services.

       12.     Defendant also has at least 10 employees in this judicial District. For example,

Defendant’s Chief Operating Officer, Damon Silvestry, represents that he resides and works in

Austin, TX. (Ex. 14). Additionally, Defendant’s Vice President of Sales and Marketing, Doug

Sites; Vice President of Medical Affairs, Christina Settler; Vice President of Sales – Specialty

Division, George Gianakopoulos; Business Development Manager, Liz Opalka; Medical Science

Liason, Mia Salimbene; and Medical Sales Representative, Matt Cline, represent that they reside

and work in Austin, TX. (Exs. 15-20). Defendant has additional employees who represent that

they reside and work in Waco, El Paso, and San Antonio, TX. For example, Defendant’s Medical

Science Liaison, Victoria H.; Business Development Manager, Raul Tolentino; and Business

Development Manager, Bethany Moore, represent that they reside and work in Waco, El Paso, and

San Antonio, TX, respectively. (Exs. 21-23). On information and belief, these employees of the

Defendant operate from one or more established places of business operated by the Defendant.

       13.     Defendant’s employees in this judicial District have responsibilities relating to the

infringing products and/or services. For example, as Business Development Manager in San

Antonio, TX, Bethany Moore’s responsibilities and experience include:



                                                 4
            Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 5 of 32




                       Promote complex, molecular, specialized test. Plan,
                       develop, and manage accounts with gynecologist,
                       oncologist and clinical laboratories to exceed sales targets.
                       Exceeded sales goals by prospecting new accounts and
                       increasing volume in current accounts.

(Ex. 23 at 1) (emphasis added).

          14.   As another example, as Vice President of Medical Affairs in Austin, TX, Christina

Settler’s responsibilities and experience relate to the infringing activities and include, among other

things:

                       Extensive clinical and commercial experience shaping
                       genetic testing products with the ability to provide clinical
                       support to promote market adoption. Strong business
                       acumen and expertise in genetic testing, clinical affairs,
                       managed care, payer relations, and sales and marketing
                       support.

(Ex. 16 at 1) (emphasis added).

          15.   Additionally, as Vice President of Sales and Marketing in Austin, TX, Doug Sites’

responsibilities and experience relate to the infringing activities and include, among other things:

                       Skilled in all areas of healthcare sales and strategic
                       marketing, including selecting, training and motivating
                       professionals for complex products, business development,
                       reimbursement and new product introductions. Proven
                       operational team leader with laboratory, finance, billing,
                       client services, R&D, quality assurance and marketing
                       automation, all integral in achieving revenue goals and
                       driving shareholder value.

(Ex. 15 at 1) (emphasis added).

          16.   Defendant also has at least one job opening listed in this judicial District. Upon

information and belief, this job opening includes responsibilities relating to the infringing products

and/or services.   For example, Defendant has a job opening for a “Business Development

Manager” listed for El Paso, TX. The “Business Development Manager’s” responsibilities

include, among other things:

                                                  5
          Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 6 of 32




                        The business development manager will help train new
                        BMDs, meet the sales budget in the territory, manage
                        opportunities and internal resources, and schedule events.

(Ex. 24 at 3).

       17.       Upon information and belief, Defendant also has presented multiple studies relating

to the infringing products and/or services in this judicial District. For example, Defendant

presented at least two posters at a scientific meeting in Austin, TX in 2018. (Ex. 25 at 5,

https://www.progenity.com/clinical-publications/carrier-testing-real-life).             Additionally,

Defendant presented at least four posters at two separate scientific meetings in San Antonio, TX

in 2019. (See Ex. 26 at 1, https://www.progenity.com/news/progenity-presents-data-acg-2019;

Ex. 27 at 3, https://www.progenity.com/clinical-publications/hereditary-cancer-risk-more-

common-we-thought).

       18.       Defendant transacts business within this District by using, offering for sale, and/or

selling products and/or services that infringe the Patents-in-Suit, including through their website,

which is accessible in this District.

       19.       Defendant is subject to this Court’s jurisdiction pursuant to due process and/or the

Texas Long Arm Statute due at least to its substantial business in this State and judicial District,

including at least regularly doing business through its registered agent in Austin, TX, and engaging

in persistent conduct and/or deriving substantial revenue from goods and services provided to

customers in the State of Texas, including the Western District of Texas. For example, Defendant

conducts business in the District, by at least using, offering for sale, and/or selling products and/or

services that practice the claimed inventions of the Patents-in-Suit, including through its website,

which are accessible in this District.

       20.       This Court has personal jurisdiction over Defendant due, inter alia, to its

continuous presence in, and systematic contact with, this District and its registration in Texas.
                                                   6
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 7 of 32




Defendant has established minimum contacts within the forum such that the exercise of jurisdiction

over Defendant will not offend traditional notions of fair play and substantial justice.

        21.     Personal jurisdiction exists over Defendant, because Defendant directly and/or

through subsidiaries or intermediaries has committed and continues to commit acts of infringement

in this District, by among other things, using, offering for sale, and/or selling products and/or

services that infringe the Patents-in-Suit, which led to foreseeable harm and injury to Plaintiff.

        22.     This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within the Western District of Texas, giving rise to this action and

has established minimum contacts with this forum such that the exercise of jurisdiction over the

Defendant would not offend traditional notions of fair play and substantial justice. The Defendant,

directly and through subsidiaries or intermediaries, has committed and continues to commit acts

of infringement in this District by, among other things, using, offering for sale, and/or selling

products and/or services that infringe the Patents-in-Suit, which led to foreseeable harm and injury

to Plaintiff.

                                       PATENTS-IN-SUIT
        23.     The ’234 Patent, entitled “Methods for Non-Invasive Prenatal Ploidy Calling,” was

duly and legally issued by the United States Patent and Trademark Office on January 5, 2016. The

inventors of the patent are Matthew Rabinowitz, Allison Ryan, George Gemelos, Milena Banjevic,

and Zachary Demko, and the patent is assigned to Natera. Natera is the exclusive owner of all

rights, title, and interest in the ’234 Patent, and has the right to bring this suit to recover damages

for any current or past infringement. A copy of the ’234 Patent is attached as Exhibit 28.

        24.     The ’392 Patent, entitled “System and Method for Cleaning Noisy Genetic Data

from Target Individuals Using Genetic Data from Genetically Related Individuals,” was duly and

legally issued by the United States Patent and Trademark Office on August 23, 2016. The

                                                  7
          Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 8 of 32




inventors of the patent are Matthew Rabinowitz, Milena Banjevic, Zachary Demko, and David

Johnson, and the patent is assigned to Natera. Natera is the exclusive owner of all rights, title, and

interest in the ’392 Patent, and has the right to bring this suit to recover damages for any current

or past infringement. A copy of the ’392 Patent is attached as Exhibit 29.

       25.     The ’652 Patent, entitled “System and Method for Cleaning Noisy Genetic Data

from Target Individuals Using Genetic Data from Genetically Related Individuals,” was duly and

legally issued by the United States Patent and Trademark Office on March 12, 2019. The inventors

of the patent are Matthew Rabinowitz, Milena Banjevic, Zachary Demko, and David Johnson, and

the patent is assigned to Natera. Natera is the exclusive owner of all rights, title, and interest in

the ’652 Patent, and has the right to bring this suit to recover damages for any current or past

infringement. A copy of the ’652 Patent is attached as Exhibit 30.

       26.     The ’202 Patent, entitled “System and Method for Cleaning Noisy Genetic Data

from Target Individuals Using Genetic Data from Genetically Related Individuals,” was duly and

legally issued by the United States Patent and Trademark Office on March 26, 2019. The inventors

of the patent are Matthew Rabinowitz, Milena Banjevic, Zachary Demko, and David Johnson, and

the patent is assigned to Natera. Natera is the exclusive owner of all rights, title, and interest in

the ’202 Patent, and has the right to bring this suit to recover damages for any current or past

infringement. A copy of the ’202 Patent is attached as Exhibit 31.

       27.     The ’893 Patent, entitled “System and Method for Cleaning Noisy Genetic Data

and Determining Chromosome Copy Number,” was duly and legally issued by the United States

Patent and Trademark Office on April 23, 2019. The inventors of the patent are Matthew

Rabinowitz, Milena Banjevic, Zachary Demko, David Johnson, Dusan Kijacic, Dimitri Petrov,

Joshua Sweetkind-Singer, and Jing Xu, and the patent is assigned to Natera. Natera is the exclusive



                                                  8
          Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 9 of 32




owner of all rights, title, and interest in the ’893 Patent, and has the right to bring this suit to recover

damages for any current or past infringement. A copy of the ’893 Patent is attached as Exhibit 32.

        28.     The ’242 Patent, entitled “Methods for Non-Invasive Prenatal Ploidy Calling,” was

duly and legally issued by the United States Patent and Trademark Office on December 31, 2019.

The inventors of the patent are Matthew Rabinowitz, Allison Ryan, George Gemelos, Milena

Banjevic, and Zachary Demko, and the patent is assigned to Natera. Natera is the exclusive owner

of all rights, title, and interest in the ’242 Patent, and has the right to bring this suit to recover

damages for any current or past infringement. A copy of the ’242 Patent is attached as Exhibit 33.

        29.     The ’234 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’234 Patent recites:

        A method for determining the number of copies of a chromosome or chromosome
        segment of interest in the genome of a gestating fetus, the method comprising:
        measuring genetic data at a plurality of loci on at least one chromosome that is
        expected to be disomic in both the mother and the fetus in a mixed sample of DNA
        comprising fetal DNA and maternal DNA;
        determining a ratio of fetal to maternal DNA in the mixed sample from the
        measured genetic data at the plurality of loci on the at least one chromosome that
        is expected to be disomic in both the mother and the fetus;
        measuring genetic data at a plurality of loci on a chromosome or chromosome
        segment of interest in the mixed sample of DNA;
        creating one or more hypotheses specifying the number of copies of the
        chromosome or chromosome segment of interest in the genome of the fetus;
        determining, on a computer, the probability of each of the hypotheses using the
        measured genetic data for the chromosome or chromosome segment of interest and
        the ratio of fetal to maternal DNA; and
        selecting the hypothesis with the greatest probability, thereby determining the
        number of copies of the chromosome or chromosome segment of interest in the
        genome of the fetus.

        30.     The ’392 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’392 Patent recites:

        A method for detecting the presence or absence of a chromosomal abnormality in
        a fetus, the method comprising:

                                                     9
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 10 of 32




       (a) measuring the amount of genetic material at multiple polymorphic loci on a
       chromosome or chromosome segment of interest in a sample comprising DNA from
       the fetus and DNA from the mother of the fetus; wherein the amount of genetic
       material at a particular polymorphic locus is determined irrespective of the identity
       of the alleles at that polymorphic locus;
       (b) determining, on a computer, the probability of the presence and the probability
       of the absence of a chromosomal abnormality in the fetus by comparing the amount
       from step (a) to either (i) a threshold value or (ii) an expected amount for a particular
       copy number hypothesis;
       (c) identifying the presence or absence of a chromosomal abnormality in the fetus
       by selecting the probability most likely to be true; and
       (d) outputting the selected probability as an indication of whether the fetus has a
       chromosomal abnormality.

       31.     The ’652 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’652 Patent recites:

       A method for detecting the presence or absence of a chromosomal abnormality in
       a fetus, the method comprising:
       (a) measuring an amount of genetic material at multiple loci on a chromosome or
       chromosome segment of interest in a sample comprising cell-free DNA derived
       from the fetus and from the mother of the fetus, wherein the measuring comprises
       amplifying at least 70 loci in a single reaction and using microarray or sequencing
       to detect amplified reaction products, and wherein the multiple loci are loci having
       alleles with 100% penetrance in the population;
       (b) determining, on a computer, a probability of the presence and a probability of
       the absence of a chromosomal abnormality in the fetus by comparing the amounts
       from step (a) to either (i) a threshold value or (ii) an expected amount for a particular
       copy number hypothesis;
       (c) identifying the presence or absence of a chromosomal abnormality in the fetus
       by selecting the probability most likely to be true; and
       (d) outputting the selected probability as an indication of whether the fetus has a
       chromosomal abnormality, thereby detecting the presence or absence of a
       chromosomal abnormality in a fetus.

       32.     The ’202 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’202 Patent recites:

       A method for detecting aneuploidy in a fetus, the method comprising:
       (a) measuring the amounts of genetic material at multiple loci on a chromosome or
       chromosome segment of interest in a sample comprising cell-free DNA derived
       from the fetus and from the mother of the fetus, wherein the measuring comprises
       amplifying at least 70 loci in a single reaction and using microarray or sequencing

                                                  10
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 11 of 32




       to detect amplified reaction products, and wherein the amount of genetic material
       at a particular locus is determined irrespective of the identity of the alleles at that
       locus;
       (b) determining, on a computer, the probability of aneuploidy in the fetus by
       comparing the measured amounts of genetic material to an expected amount for a
       particular copy number; and
       (c) outputting the selected probability as an indication of whether the fetus has
       aneuploidy.

       33.     The ’893 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’893 Patent recites:

       A method for measuring the amounts of fetal chromosome segments in a maternal
       blood sample, comprising:
       obtaining cell-free DNA comprising fetal and maternal chromosome segments
       from the maternal blood sample;
       performing universal amplification on the chromosome segments to generate
       amplified chromosome segments;
       performing clonal amplification on the amplified chromosome segments to
       generate clonally amplified chromosome segments; and
       measuring the amounts of clonally amplified fetal chromosome segments by
       performing next-generation sequencing.

       34.     The ’242 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 1 of the ’242 Patent recites:

       A method for determining the number of copies of a chromosome or chromosome
       segment of interest in the genome of a gestating fetus, the method comprising:
       measuring genetic data at a plurality of polymorphic loci on at least one
       chromosome that is expected to be disomic in both the mother and the fetus and a
       plurality of polymorphic loci on at least chromosome or chromosome segment of
       interest, which comprises amplifying at least 500 polymorphic loci from a mixed
       sample comprising DNA derived from the fetus and DNA derived from the
       mother, wherein the mixed sample is prepared from a maternal blood or plasma
       sample that comprises free floating fetal and maternal DNA;
       determining a ratio of DNA derived from the fetus to DNA derived from the
       mother from the measured genetic data at the plurality of polymorphic loci on the
       at least one chromosome that is expected to be disomic in both the mother and the
       fetus;
       creating hypotheses specifying the number of copies of the chromosome or
       chromosome segment of interest in the genome of the fetus;




                                                 11
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 12 of 32




       determining, on a computer, the probability of each of the hypotheses using the
       measured genetic data for the chromosome or chromosome segment of interest
       and the ratio of DNA derived from the fetus to DNA derived from the mother; and
       selecting the hypothesis with the greatest probability, thereby determining the
       number of copies of the chromosome or chromosome segment of interest in the
       genome of the fetus.

                        PROGENITY’S INFRINGING ACTIVITIES
   A. The Accused Innatal Prenatal Screen

       35.    Progenity was founded in 2010 and launched its Innatal Prenatal Screen in 2015.

The Innatal Prenatal Screen is a noninvasive prenatal test offered to women early in pregnancy to

screen for risk of fetal chromosomal conditions, such as Down syndrome, trisomy 13, and trisomy

18, and sex chromosome disorders. On April 29, 2019, Progenity announced changes to the Innatal

Prenatal Screen with “the latest sequencing technology, improved chemistry, and bioinformatic

analysis.”   (https://www.progenity.com/news/progenity-launches-first-commercially-available-

custom-designed-noninvasive-prenatal-test), but did not release what those changes were. In

March 2020, Progenity published a paper evaluating the Innatal Prenatal Screen. Ex. 34 (Porreco

et al.. “Evaluation of a novel screening method for fetal aneuploidy using cell-free DNA in

maternal plasma.” J. Med.Screen. 2020, Vol. 27(1) 1-8.).

       36.    According to Progenity’s website:

       Cell-free DNA (cfDNA) is analyzed from a maternal blood sample to assess the
       pregnancy for common chromosome aneuploidies, including trisomy 21 (Down
       syndrome), trisomy 18, trisomy 13, and sex chromosome abnormalities. This
       noninvasive screen offers providers and their patients accurate information about
       the risk for these conditions during pregnancy, as early as 10 weeks’ gestation.

       The Innatal Prenatal Screen utilizes massively parallel sequencing (MPS) across
       the whole genome. This method sequences short fragments of DNA, creating
       millions of reads that are then mapped to the reference genome. The reads are
       counted to determine whether the sample has extra or missing reads from a
       particular chromosome. Abnormal dosage indicating aneuploidy is presumed to be
       fetal in origin. In rare circumstances, there is an alternative explanation.



                                               12
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 13 of 32




          Progenity has upgraded the Innatal Prenatal screen with the latest sequencing
          technology and improved chemistry, demonstrating higher sensitivities than
          previous versions of the test. Fetal fraction is determined for each sample using a
          proprietary algorithm.

(Ex. 35, https://www.progenity.com/products/innatal#practice, accessed June 16, 2020).
          37.      Progenity is currently developing a 4th Generation Innatal Prenatal Screen and

anticipates a commercial launch by the end of 2021.

                                               COUNT I
                                   (Infringement of the ’234 Patent)
          38.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

          39.      The ’234 Patent is valid and enforceable.

          40.      Progenity has infringed, and continues to infringe, one or more claims of the ’234

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          41.      For example, Progenity infringes at least exemplary claim 1 of the ’234 Patent by

using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method for

determining the number of copies of a chromosome or chromosome segment of interest in the

genome of a gestating fetus. Progenity has published a paper on the Innatal product, Porreco et

al.. “Evaluation of a novel screening method for fetal aneuploidy using cell-free DNA in maternal

plasma.” J. Med.Screen. 2020, Vol. 27(1) 1-8. The Progenity Innatal Prenatal Screen:

                a. measures genetic data at a plurality of loci on at least one chromosome that is

                   expected to be disomic in both the mother and the fetus in a mixed sample of DNA

                   comprising fetal DNA and maternal DNA (see Ex. 36 (Progenity U.S. Patent


                                                   13
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 14 of 32




    Application 2019/0309352) at ¶¶ [0037-0039] (“comparing the test ratio to a

    plurality of reference ratios that are computed based on reference nucleic acid

    samples isolated from reference subjects without a copy number variation at the

    target sequences of interest”));

 b. determines a ratio of fetal to maternal DNA in the mixed sample from the measured

    genetic data at the plurality of loci on the at least one chromosome that is expected

    to be disomic in both the mother and the fetus (see Ex. 34 (Porreco et al.,

    “Evaluation of a novel screening method for fetal aneuploidy using cell-free DNA

    in maternal plasma,” J. Med. Screen, 2020 Vol. 27(1) 1-8) at 6 (“A single nucleotide

    polymorphism-based fetal fraction estimator also was developed.”));

 c. measures genetic data at a plurality of loci on a chromosome or chromosome

    segment of interest in the mixed sample of DNA (see Ex. 34 (Porreco et al.) at

    Appx. A (“The sequencing data from the Progenity assay also contains information

    from 1-2000 SNPs.”));

 d. creates one or more hypotheses specifying the number of copies of the chromosome

    or chromosome segment of interest in the genome of the fetus (see Ex. 34 (Porreco

    et al.) at 6: “A ploidy model and aneuploidy calling algorithm was developed at

    Progenity, Inc. to determine fetal ploidy for the common trisomies and sex

    chromosomes from sequencing data generated by the assay. This algorithm is based

    on a likelihood model that fits the count of unique aligned reads at each MIP site in

    the genome to produce a per-chromosome estimate of ploidy and its standard error.

    A T-score (Supplemental Appendix A) representing the ratio of the difference




                                       14
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 15 of 32




                between the estimated value and the hypothesized value to the standard error is

                generated for each chromosome interrogated within each sample.”);

             e. determines, on a computer, the probability of each of the hypotheses using the

                measured genetic data for the chromosome or chromosome segment of interest and

                the ratio of fetal to maternal DNA (see Ex. 34 (Porreco et al.) at Appx. A (“The

                ploidy model regresses the site-specific counts against a design matrix composed

                of covariates obtained from the training data. This model results in estimates of

                ploidy for chromosomes 13, 18, and 21 (Figures S1-S3) and their standard errors.”);

                and

             f. selects the hypothesis with the greatest probability, thereby determining the number

                of copies of the chromosome or chromosome segment of interest in the genome of

                the fetus (see Ex. 34 (Porreco et al.) at Appx. A (“A T-value statistic is generated

                for these autosomes within each sample where the null hypothesis for ploidy is 2

                (euploidy) for autosomes. This T-value is a test statistic for deviation from the null

                hypothesis of euploidy as obtained from our proprietary ploidy model. Under the

                alternative hypotheses of maternal of fetal nullisomy, trisomy, etc., the expectation

                of the ploidy is a linear function of the maternal ploidy, fetal ploidy and fetal

                fraction. . . . A T-value between 5 and 4 indicate that fetal ploidy is statistically

                indistinguishable from the euploid distribution. A T-value >4 indicates that fetal

                ploidy is significantly higher than the euploid distribution and is classified as

                trisomy.”).

       42.      Progenity has had knowledge of the ’234 Patent and its infringement since at least

the date of this Complaint.



                                                 15
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 16 of 32




          43.      Progenity’s infringement of the ’234 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

          44.      Natera has been and continues to be damaged by Defendant’s infringement of the

’234 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

          45.      Defendant’s conduct in infringing the ’234 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                               COUNT II
                                   (Infringement of the ’392 Patent)
          46.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

          47.      The ’392 Patent is valid and enforceable.

          48.      Progenity has infringed, and continues to infringe, one or more claims of the ’392

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          49.      For example, Progenity infringes at least exemplary claim 1 of the ’392 Patent by

using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method for

detecting the presence or absence of a chromosomal abnormality in a fetus (see Ex. 34 (Porreco et

al.)) that includes:

                a. measuring the amount of genetic material at multiple polymorphic loci on a

                   chromosome or chromosome segment of interest in a sample comprising DNA from

                   the fetus and DNA from the mother of the fetus; wherein the amount of genetic

                   material at a particular polymorphic locus is determined irrespective of the identity

                   of the alleles at that polymorphic locus (see Ex. 34 (Porreco et al.) at 3 (“The
                                                    16
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 17 of 32




    cfDNA test described here uses a novel MIP strategy developed at Progenity, Inc.

    to enrich and tag specific genomic sequences for next generation sequencing

    without the need for a highly-multiplexed target capture reaction”); at 5 (“In all, the

    probe captured ~200,000 sites across the genome. . . .”); and Appx. A at 2 (“The

    sequencing data from the Progenity assay also contains information from 1‐2,000

    SNPs with minor allele frequency >0.3%.”; “This model results in estimates of

    ploidy for chromosomes 13, 18, and 21….”);

 b. determining, on a computer, the probability of the presence and the probability of

    the absence of a chromosomal abnormality in the fetus by comparing the amount

    from step (a) to either (i) a threshold value or (ii) an expected amount for a particular

    copy number hypothesis (see Ex. 34 (Porreco et al.) at 6 (“A ploidy model and

    aneuploidy calling algorithm was developed at Progenity, Inc. to determine fetal

    ploidy for the common trisomies and sex chromosomes from sequencing data

    generated by the assay. This algorithm is based on a likelihood model that fits the

    count of unique aligned reads at each MIP site in the genome to produce a per-

    chromosome estimate of ploidy and its standard error. A T-score (Supplemental

    Appendix A) representing the ratio of the difference between the estimated value

    and the hypothesized value to the standard error is generated for each chromosome

    interrogated within each sample. A single nucleotide polymorphism-based fetal

    fraction estimator also was developed.”); at Appx. A at 1 (“A T‐value statistic is

    generated for these autosomes within each sample where the null hypothesis for

    ploidy is 2 (euploidy) for autosomes. This T-value is a test statistic for deviation

    from the null hypothesis of euploidy as obtained from our proprietary ploidy model.



                                       17
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 18 of 32




    Under the alternative hypotheses of maternal or fetal nullisomy, trisomy, etc., the

    expectation of the ploidy is a linear function of the maternal ploidy, fetal ploidy and

    fetal fraction. The model T‐value represents the deviation of the estimated ploidy

    from the euploid expectation divided by the standard error obtained from fitting a

    generalized linear model.”); and Appx. A at 2 (“A T‐value between 5 and 4 indicate

    that fetal ploidy is statistically indistinguishable from the euploid distribution. A T‐

    value > 4 indicates that fetal ploidy is significantly higher than the euploid

    distribution and is classified as trisomy. Similar methods were used to test

    chromosome X and Y ploidy (data not shown).”);

 c. identifying the presence or absence of a chromosomal abnormality in the fetus by

    selecting the probability most likely to be true (see Ex. 34 (Porreco et al.) at Appx.

    A (“The ploidy model regresses the site-specific counts against a design matrix

    composed of covariates obtained from the training data. This model results in

    estimates of ploidy for chromosomes 13, 18, and 21 (Figures S1-S3) and their

    standard errors. A T-value statistic is generated for these autosomes within each

    sample where the null hypothesis for ploidy is 2 (euploidy) for autosomes. This T-

    value is a test statistic for deviation from the null hypothesis of euploidy as obtained

    from our proprietary ploidy model. Under the alternative hypotheses of maternal

    of fetal nullisomy, trisomy, etc., the expectation of the ploidy is a linear function of

    the maternal ploidy, fetal ploidy and fetal fraction. . . . A T-value between 5 and 4

    indicate that fetal ploidy is statistically indistinguishable from the euploid

    distribution. A T-value >4 indicates that fetal ploidy is significantly higher than

    the euploid distribution and is classified as trisomy.” ); and



                                      18
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 19 of 32




             d. outputting the selected probability as an indication of whether the fetus has a

                chromosomal abnormality, thereby detecting the presence or absence of a

                chromosomal abnormality in a fetus. See Ex. 34 (Porreco et al.) at Abstract (“Using

                the new sequencing technology, 1414 samples were analyzed. The findings showed

                sensitivities and specificities for the common trisomies and the sex chromosome

                aneuploidies at >99% (Trisomy 21 sensitivity 99.2 CI 95.6–99.2; specificity 99.9

                CI 99.6–99.9). Positive predictive values among the trisomies varied from 85.2%

                (Trisomy 18) to 99.0% (Trisomy 21), reflecting their prevalence rates in the

                study.”)

       50.      Progenity has had knowledge of the ’392 Patent and its infringement since at least

the date of this Complaint.

       51.      Progenity’s infringement of the ’392 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

       52.      Natera has been and continues to be damaged by Defendant’s infringement of the

’392 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

       53.      Defendant’s conduct in infringing the ’392 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                            COUNT III
                                (Infringement of the ’652 Patent)
       54.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

       55.      The ’652 Patent is valid and enforceable.

       56.      Progenity has infringed, and continues to infringe, one or more claims of the ’652

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,
                                                  19
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 20 of 32




products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          57.      For example, Progenity infringes at least exemplary claim 1 of the ’652 Patent by

using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method for

detecting the presence or absence of a chromosomal abnormality in a fetus. The Innatal Prenatal

Screen includes:

                a. measuring an amount of genetic material at multiple loci on a chromosome or

                   chromosome segment of interest in a sample comprising cell-free DNA derived

                   from the fetus and from the mother of the fetus, wherein the measuring comprises

                   amplifying at least 70 loci in a single reaction and using microarray or sequencing

                   to detect amplified reaction products, and wherein the multiple loci are loci having

                   alleles with 100% penetrance in the population (see Ex. 34 (Porreco et al.) at 3

                   (“The cfDNA test described here uses a novel MIP strategy developed at Progenity,

                   Inc. to enrich and tag specific genomic sequences for next generation sequencing

                   without the need for a highly-multiplexed target capture reaction”); at 5 (“In all, the

                   probe captured ~200,000 sites across the genome. . . .”); and Appx. A at 2 (“The

                   sequencing data from the Progenity assay also contains information from 1‐2,000

                   SNPs with minor allele frequency >0.3%.”; “This model results in estimates of

                   ploidy for chromosomes 13, 18, and 21….”);

                b. determining, on a computer, a probability of the presence and a probability of the

                   absence of a chromosomal abnormality in the fetus by comparing the amounts from

                   step (a) to either (i) a threshold value or (ii) an expected amount for a particular

                   copy number hypothesis(see Ex. 34 (Porreco et al.) at 6 (“A ploidy model and



                                                     20
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 21 of 32




    aneuploidy calling algorithm was developed at Progenity, Inc. to determine fetal

    ploidy for the common trisomies and sex chromosomes from sequencing data

    generated by the assay. This algorithm is based on a likelihood model that fits the

    count of unique aligned reads at each MIP site in the genome to produce a per-

    chromosome estimate of ploidy and its standard error. A T-score (Supplemental

    Appendix A) representing the ratio of the difference between the estimated value

    and the hypothesized value to the standard error is generated for each chromosome

    interrogated within each sample. A single nucleotide polymorphism-based fetal

    fraction estimator also was developed.”); at Appx. A at 1 (“A T‐value statistic is

    generated for these autosomes within each sample where the null hypothesis for

    ploidy is 2 (euploidy) for autosomes. This T-value is a test statistic for deviation

    from the null hypothesis of euploidy as obtained from our proprietary ploidy model.

    Under the alternative hypotheses of maternal or fetal nullisomy, trisomy, etc., the

    expectation of the ploidy is a linear function of the maternal ploidy, fetal ploidy and

    fetal fraction. The model T‐value represents the deviation of the estimated ploidy

    from the euploid expectation divided by the standard error obtained from fitting a

    generalized linear model.”); and Appx. A at 2 (“A T‐value between 5 and 4 indicate

    that fetal ploidy is statistically indistinguishable from the euploid distribution. A T‐

    value > 4 indicates that fetal ploidy is significantly higher than the euploid

    distribution and is classified as trisomy. Similar methods were used to test

    chromosome X and Y ploidy (data not shown).”);

 c. identifying the presence or absence of a chromosomal abnormality in the fetus by

    selecting the probability most likely to be true (see Ex. 34 (Porreco et al.) at Appx.



                                      21
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 22 of 32




                A (“The ploidy model regresses the site-specific counts against a design matrix

                composed of covariates obtained from the training data. This model results in

                estimates of ploidy for chromosomes 13, 18, and 21 (Figures S1-S3) and their

                standard errors. A T-value statistic is generated for these autosomes within each

                sample where the null hypothesis for ploidy is 2 (euploidy) for autosomes. This T-

                value is a test statistic for deviation from the null hypothesis of euploidy as obtained

                from our proprietary ploidy model. Under the alternative hypotheses of maternal

                of fetal nullisomy, trisomy, etc., the expectation of the ploidy is a linear function of

                the maternal ploidy, fetal ploidy and fetal fraction. . . . A T-value between 5 and 4

                indicate that fetal ploidy is statistically indistinguishable from the euploid

                distribution. A T-value >4 indicates that fetal ploidy is significantly higher than

                the euploid distribution and is classified as trisomy.” ); and

             d. outputting the selected probability as an indication of whether the fetus has a

                chromosomal abnormality, thereby detecting the presence or absence of a

                chromosomal abnormality in a fetus. See Ex. 34 (Porreco et al.) at Abstract (“Using

                the new sequencing technology, 1414 samples were analyzed. The findings showed

                sensitivities and specificities for the common trisomies and the sex chromosome

                aneuploidies at >99% (Trisomy 21 sensitivity 99.2 CI 95.6–99.2; specificity 99.9

                CI 99.6–99.9). Positive predictive values among the trisomies varied from 85.2%

                (Trisomy 18) to 99.0% (Trisomy 21), reflecting their prevalence rates in the

                study.”)

       58.      Progenity has had knowledge of the ’652 Patent and its infringement since at least

the date of this Complaint.



                                                  22
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 23 of 32




          59.      Progenity’s infringement of the ’652 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

          60.      Natera has been and continues to be damaged by Defendant’s infringement of the

’652 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

          61.      Defendant’s conduct in infringing the ’652 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                                COUNT IV
                                   (Infringement of the ’202 Patent)
          62.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

          63.      The ’202 Patent is valid and enforceable.

          64.      Progenity has infringed, and continues to infringe, one or more claims of the ’202

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          65.      For example, Progenity infringes at least exemplary claim 1 of the ’202 Patent by

using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method for

detecting aneuploidy in a fetus, and includes:

                a. measuring the amounts of genetic material at multiple loci on a chromosome or

                   chromosome segment of interest in a sample comprising cell-free DNA derived

                   from the fetus and from the mother of the fetus, wherein the measuring comprises

                   amplifying at least 70 loci in a single reaction and using microarray or sequencing

                   to detect amplified reaction products, and wherein the amount of genetic material

                   at a particular locus is determined irrespective of the identity of the alleles at that
                                                     23
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 24 of 32




    locus (see Ex. 34 (Porreco et al.) at 3 (“The cfDNA test described here uses a novel

    MIP strategy developed at Progenity, Inc. to enrich and tag specific genomic

    sequences for next generation sequencing without the need for a highly-multiplexed

    target capture reaction”); at 5 (“In all, the probe captured ~200,000 sites across the

    genome. . . .”); and Appx. A at 2 (“The sequencing data from the Progenity assay

    also contains information from 1‐2,000 SNPs with minor allele frequency >0.3%.”;

    “This model results in estimates of ploidy for chromosomes 13, 18, and 21….”);

 b. determining, on a computer, the probability of aneuploidy in the fetus by comparing

    the measured amounts of genetic material to an expected amount for a particular

    copy number (see Ex. 34 (Porreco et al.) at 6 (“A ploidy model and aneuploidy

    calling algorithm was developed at Progenity, Inc. to determine fetal ploidy for the

    common trisomies and sex chromosomes from sequencing data generated by the

    assay. This algorithm is based on a likelihood model that fits the count of unique

    aligned reads at each MIP site in the genome to produce a per-chromosome estimate

    of ploidy and its standard error. A T-score (Supplemental Appendix A) representing

    the ratio of the difference between the estimated value and the hypothesized value

    to the standard error is generated for each chromosome interrogated within each

    sample. A single nucleotide polymorphism-based fetal fraction estimator also was

    developed.”); at Appx. A at 1 (“A T‐value statistic is generated for these autosomes

    within each sample where the null hypothesis for ploidy is 2 (euploidy) for

    autosomes. This T-value is a test statistic for deviation from the null hypothesis of

    euploidy as obtained from our proprietary ploidy model. Under the alternative

    hypotheses of maternal or fetal nullisomy, trisomy, etc., the expectation of the



                                     24
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 25 of 32




                ploidy is a linear function of the maternal ploidy, fetal ploidy and fetal fraction. The

                model T‐value represents the deviation of the estimated ploidy from the euploid

                expectation divided by the standard error obtained from fitting a generalized linear

                model.”); and Appx. A at 2 (“A T‐value between 5 and 4 indicate that fetal ploidy

                is statistically indistinguishable from the euploid distribution. A T‐value > 4

                indicates that fetal ploidy is significantly higher than the euploid distribution and is

                classified as trisomy. Similar methods were used to test chromosome X and Y

                ploidy (data not shown).”); and

             c. outputting the selected probability as an indication of whether the fetus has

                aneuploidy. See Ex. 34 (Porreco et al.) at Abstract (“Using the new sequencing

                technology, 1414 samples were analyzed. The findings showed sensitivities and

                specificities for the common trisomies and the sex chromosome aneuploidies at

                >99% (Trisomy 21 sensitivity 99.2 CI 95.6–99.2; specificity 99.9 CI 99.6–99.9).

                Positive predictive values among the trisomies varied from 85.2% (Trisomy 18) to

                99.0% (Trisomy 21), reflecting their prevalence rates in the study.”)

       66.      Progenity has had knowledge of the ’202 Patent and its infringement since at least

the date of this Complaint.

       67.      Progenity’s infringement of the ’202 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

       68.      Natera has been and continues to be damaged by Defendant’s infringement of the

’202 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

       69.      Defendant’s conduct in infringing the ’202 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.



                                                  25
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 26 of 32




                                               COUNT V
                                   (Infringement of the ’893 Patent)
          70.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

          71.      The ’893 Patent is valid and enforceable.

          72.      Progenity has infringed, and continues to infringe, one or more claims of the ’893

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          73.      For example, Progenity infringes at least exemplary claim 1 of the ’893 Patent by

using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method for

measuring the amounts of fetal chromosome segments in a maternal blood sample, that includes:

                a. obtaining cell-free DNA comprising fetal and maternal chromosome segments

                   from the maternal blood sample (see Ex. 34 (Porreco et al.) at Abstract (“Objective:

                   To evaluate the test performance of a novel sequencing technology using molecular

                   inversion probes applied to cell-free DNA screening for fetal aneuploidy.”); and 3

                   (“Venous blood (approximately 20mL) was collected from study participants. . .

                   .”);

                b. performing universal amplification on the chromosome segments to generate

                   amplified chromosome segments (see Ex. 34 (Porreco et al.) at 5 (“The single

                   stranded circular DNA generated from the capture protocol (Figure 1) was used as

                   template in a universal PCR reaction containing primers that bind to the MIP

                   backbone.”);



                                                    26
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 27 of 32




             c. performing clonal amplification on the amplified chromosome segments to

                generate clonally amplified chromosome segments (see Ex. 34 (Porreco et al.) at 5-

                6 (“PCR product libraries were purified . . . and samples were pooled into a

                multiplexed sequencing library (including controls). The library was diluted to an

                appropriate concentration for patterned flow cell clustering on a NovaSeq 6000. . .

                .”); and

             d. measuring the amounts of clonally amplified fetal chromosome segments by

                performing next-generation sequencing. See Ex. 34 (Porreco et al.) at 3 (“The

                cfDNA test described here uses a novel MIP strategy developed at Progenity, Inc.

                to enrich and tag specific genomic sequences for next generation sequencing

                without the need for a highly-multiplexed target capture reaction”)

       74.      Progenity has had knowledge of the ’893 Patent and its infringement since at least

the date of this Complaint.

       75.      Progenity’s infringement of the ’893 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

       76.      Natera has been and continues to be damaged by Defendant’s infringement of the

’893 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

       77.      Defendant’s conduct in infringing the ’893 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                            COUNT VI
                                (Infringement of the ’242 Patent)
       78.      Natera incorporates the foregoing paragraphs of this Complaint by reference.

       79.      The ’242 Patent is valid and enforceable.



                                                 27
           Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 28 of 32




          80.      Progenity has infringed, and continues to infringe, one or more claims of the ’242

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Progenity’s Innatal Prenatal

Screen.

          81.      For example, Progenity infringemes at least exemplary claim 1 of the ’242 Patent

by using the Innatal Prenatal Screen. For example, use of the Innatal Prenatal Screen is a method

for determining the number of copies of a chromosome or chromosome segment of interest in the

genome of a gestating fetus. The test includes:

                a. measuring genetic data at a plurality of polymorphic loci on at least one

                   chromosome that is expected to be disomic in both the mother and the fetus and a

                   plurality of polymorphic loci on at least chromosome or chromosome segment of

                   interest, which comprises amplifying at least 500 polymorphic loci from a mixed

                   sample comprising DNA derived from the fetus and DNA derived from the mother,

                   wherein the mixed sample is prepared from a maternal blood or plasma sample that

                   comprises free floating fetal and maternal DNA (see Ex. 34 (Porreco et al.) at 5

                   (“In all, the probe captured ~200,000 sites across the genome. . . .”); and Appx. A

                   at 2 (“The sequencing data from the Progenity assay also contains information from

                   1‐2,000 SNPs with minor allele frequency >0.3%.”; “This model results in

                   estimates of ploidy for chromosomes 13, 18, and 21….”);

                b. determining a ratio of DNA derived from the fetus to DNA derived from the mother

                   from the measured genetic data at the plurality of polymorphic loci on the at least

                   one chromosome that is expected to be disomic in both the mother and the fetus



                                                   28
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 29 of 32




    (see Ex. 34 (Porreco et al.) at 6 (“A single nucleotide polymorphism-based fetal

    fraction estimator also was developed.”));

 c. creating hypotheses specifying the number of copies of the chromosome or

    chromosome segment of interest in the genome of the fetus (see Ex. 34 (Porreco et

    al.) at 6: “A ploidy model and aneuploidy calling algorithm was developed at

    Progenity, Inc. to determine fetal ploidy for the common trisomies and sex

    chromosomes from sequencing data generated by the assay. This algorithm is based

    on a likelihood model that fits the count of unique aligned reads at each MIP site in

    the genome to produce a per-chromosome estimate of ploidy and its standard error.

    A T-score (Supplemental Appendix A) representing the ratio of the difference

    between the estimated value and the hypothesized value to the standard error is

    generated for each chromosome interrogated within each sample.”);

 d. determining, on a computer, the probability of each of the hypotheses using the

    measured genetic data for the chromosome or chromosome segment of interest and

    the ratio of DNA derived from the fetus to DNA derived from the mother (see Ex.

    34 (Porreco et al.) at 6 (“A ploidy model and aneuploidy calling algorithm was

    developed at Progenity, Inc. to determine fetal ploidy for the common trisomies

    and sex chromosomes from sequencing data generated by the assay. This algorithm

    is based on a likelihood model that fits the count of unique aligned reads at each

    MIP site in the genome to produce a per-chromosome estimate of ploidy and its

    standard error. A T-score (Supplemental Appendix A) representing the ratio of the

    difference between the estimated value and the hypothesized value to the standard

    error is generated for each chromosome interrogated within each sample. A single



                                     29
Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 30 of 32




    nucleotide polymorphism-based fetal fraction estimator also was developed.”); at

    Appx. A at 1 (“A T‐value statistic is generated for these autosomes within each

    sample where the null hypothesis for ploidy is 2 (euploidy) for autosomes. This T-

    value is a test statistic for deviation from the null hypothesis of euploidy as obtained

    from our proprietary ploidy model. Under the alternative hypotheses of maternal or

    fetal nullisomy, trisomy, etc., the expectation of the ploidy is a linear function of

    the maternal ploidy, fetal ploidy and fetal fraction. The model T‐value represents

    the deviation of the estimated ploidy from the euploid expectation divided by the

    standard error obtained from fitting a generalized linear model.”); and Appx. A at

    2 (“A T‐value between 5 and 4 indicate that fetal ploidy is statistically

    indistinguishable from the euploid distribution. A T‐value > 4 indicates that fetal

    ploidy is significantly higher than the euploid distribution and is classified as

    trisomy. Similar methods were used to test chromosome X and Y ploidy (data not

    shown).”); and

 e. selecting the hypothesis with the greatest probability, thereby determining the

    number of copies of the chromosome or chromosome segment of interest in the

    genome of the fetus. See Ex. 34 (Porreco et al.) at Appx. A (“The ploidy model

    regresses the site-specific counts against a design matrix composed of covariates

    obtained from the training data. This model results in estimates of ploidy for

    chromosomes 13, 18, and 21 (Figures S1-S3) and their standard errors. A T-value

    statistic is generated for these autosomes within each sample where the null

    hypothesis for ploidy is 2 (euploidy) for autosomes. This T-value is a test statistic

    for deviation from the null hypothesis of euploidy as obtained from our proprietary



                                      30
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 31 of 32




                ploidy model. Under the alternative hypotheses of maternal of fetal nullisomy,

                trisomy, etc., the expectation of the ploidy is a linear function of the maternal

                ploidy, fetal ploidy and fetal fraction. . . . A T-value between 5 and 4 indicate that

                fetal ploidy is statistically indistinguishable from the euploid distribution. A T-

                value >4 indicates that fetal ploidy is significantly higher than the euploid

                distribution and is classified as trisomy.” )

        82.     Progenity has had knowledge of the ’242 Patent and its infringement since at least

the date of this Complaint.

        83.     Progenity’s infringement of the ’242 Patent was, and continues to be, willful and

deliberate since at least the date of this Complaint.

        84.     Natera has been and continues to be damaged by Defendant’s infringement of the

’242 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

        85.     Defendant’s conduct in infringing the ’242 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF
        WHEREFORE, Natera prays for judgment as follows:
        A.      That Progenity has infringed each of the Patents-in-Suit;

        B.      That Progenity’s infringement of each of the Patents-in-Suit has been willful;

        C.      That Natera be awarded an order enjoining Progenity and its officers, directors,

agents, servants, affiliates, employees, divisions, subsidiaries, parents, and all other acting in active

concert therewith from further infringement of the Patents-in-Suit;

        D.      That Natera be awarded all damages adequate to compensate it for Defendant’s past

infringement and any continuing or future infringement of the Patents-in-Suit up until the date



                                                   31
         Case 6:20-cv-00532-ADA Document 1 Filed 06/17/20 Page 32 of 32




such judgment is entered, including pre- and post-judgment interest, costs, and disbursements as

justified under 35 U.S.C. § 284;

        E.      That any award of damages be enhanced under 35 U.S.C. § 284 as result of

Progenity’s willful infringement;

        F.      That this case by declared an exceptional case within the meaning of 35 U.S.C.

§285 and that Natera be awarded the attorney fees, costs, and expenses incurred in connection with

this action;

        G.      That Natera be awarded costs and expenses in this action; and

        H.      That Natera be awarded such other and further relief at law or equity as this Court

deems just and proper.

                                   DEMAND FOR JURY TRIAL
        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Natera demands a

trial by jury on all issues so triable.



Dated: June 17, 2020
                                                   Respectfully submitted,

                                                   /s/Stephen M. Hash
                                                   Stephen M. Hash
                                                   Texas Bar No. 24012800
                                                   BAKER BOTTS L.L.P.
                                                   98 San Jacinto Blvd, Suite 1500
                                                   Austin, TX 78701
                                                   Telephone: (512) 322-2587
                                                   Facsimile: (512) 322-3687
                                                   stephen.hash@bakerbotts.com

                                                   Attorneys for Plaintiff Natera, Inc.




                                                32
